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 4

 5   Attorneys for Defendant,
     MILGARD MANUFACTURING
 6   INCORPORATED dba MILGARD WINDOWS
     AND DOORS
 7

 8                         UNITED STATES DISTRICT COURT

 9                        SOUTHERN DISTRICT OF CALIFORNIA

10

11   BROCK MATHIS and MICHELLE      )         Case No.: '16CV2914 BEN JLB
     MATHIS,                        )
12                                  )
          Plaintiffs,               )         NOTICE OF REMOVAL OF ACTION
13                                  )         UNDER 28 U.S.C. SECTION
     v.                             )         1441(b) (DIVERSITY)
14                                  )
     MILGARD MANUFACTURING, INC.    )
15   dba MILGARD WINDOWS AND DOORS; )
     and DOES 1 through 20          )
16   inclusive,                     )
                                    )
17        Defendants.               )
                                    )
18

19   TO THE CLERK OF THE ABOVE-ENTITLED COURT:

20        PLEASE   TAKE    NOTICE   that    defendant,   MILGARD   MANUFACTURING

21   INCORPORATED dba MILGARD WINDOWS AND DOORS (hereinafter “MILGARD

22   MANUFACTURING”) hereby removes to this Court the state court action

23   described below.

24   The Action.

25        1. On October 11, 2016, an action was commenced in the

26   Superior Court of the State of California in and for the County of

27   San Diego, entitled BROCK MATHIS and MICHELLE MATHIS, plaintiffs,

28   vs. MILGARD MANUFACTURING, INC. dba MILGARD WINDOWS AND DOORS,

                                           - 1 -
        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
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 1   defendant, and DOES 1 to 20, inclusive, as case number 37-2016-

 2   00035335-CU-PL-NC. A copy of the Complaint is attached hereto as

 3   Exhibit “A.”

 4         2.      On the date of filing of the Complaint, the Court issued

 5   a Notice of Case Assignment, thereby assigning the State Court

 6   action to the Honorable Jacqueline M. Stern in Department N-27 of

 7   the Superior Court.         A copy of the Notice of Case Assignment is

 8   attached hereto as Exhibit “B.”

 9         3.      The nature of the action is personal injury and products

10   liability.      Plaintiff, BROCK MATHIS contends that he was injured

11   while attempting to install a 123" X 60" window manufactured by

12   Defendant, MILGARD MANUFACTURING, when the flanges of the window

13   buckled, causing the window to project outwards knocking him off of

14   a scaffolding structure and causing him to fall approximately

15   twenty (20) feet and sustain bilateral calcaneus fractures in both

16   feet and a fracture of his right ankle.              Plaintiffs seek recovery

17   of damages for: wage loss, hospital and medical expenses, general

18   damages,      loss   of   earning   capacity,    and    loss   of   consortium.

19   Plaintiffs pray for compensatory damages according to proof.

20   Residence of the Parties.

21         4.      Defendant is informed and believe that Plaintiffs, BROCK

22   MATHIS and MICHELLE MATHIS, were, and still are, residents of

23   County of San Diego, State of California.

24         5.      Defendant, MILGARD MANUFACTURING, was, at the time of the

25   filing of this action, and still is, incorporated under the laws of

26   the State of Washington and has its principal place of business in

27   the   State    of    Washington.     A   copy   of   the   printout   from   the

28   Washington Secretary of State: Corporations Division is attached

                                          - 2 -
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 1   hereto as Exhibit “C.”

 2        6.    No other defendants have been served with the Summons and

 3   Complaint and thus, there is no Joinder by other defendants to this

 4   Notice of Removal.

 5   Timeliness of the Removal.

 6        7.    The    first    date     upon     which    defendant,     MILGARD

 7   MANUFACTURING, received a copy of the Summons and Complaint was on

 8   October 20, 2016, and a Notice and Acknowledgment of Receipt-Civil

 9   was signed     on November 7, 2016, when defendant was served with

10   said documents. A copy of the Summons and Notice and Acknowledgment

11   of Receipt-Civil from the said state court are attached hereto as

12   Exhibit “D.”

13        8.    As of the date of the filing of this Notice of Removal,

14   MILGARD MANUFACTURING is aware of no other filings in the San Diego

15   County Superior Court related to this action.

16        9.    Therefore,     this    Notice    of   Removal,   being   filed    on

17   November 29, 2016, is timely filed pursuant to 28 U.S.C. Section

18   1446(b) and California Code of Civil Procedure Section 415.40.

19                                    CONCLUSION

20        Based on the foregoing, this Court has original jurisdiction

21   under 28 U.S.C. Section 1332, and is one which may be removed to

22   this Court by defendants pursuant to the provisions of 28 U.S.C.

23   Section 1441(b) in that it is a civil action between citizens of

24   different states and the matter in controversy exceeds the sum of

25   Seventy-Five Thousand Dollars ($75,000), exclusive of interest and

26   costs. By removing this action to this Court, MILGARD MANUFACTURING

27    does not waive any defenses, objections, or motions available to

28   it under state or federal law.         MILGARD MANUFACTURING expressly

                                         - 3 -
        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
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 1   reserves the right to amend or supplement this Notice of Removal.

 2                NOTICE TO ADVERSE PARTIES AND STATE COURT

 3        Pursuant to 28 U.S.C. Section 1446(d), a copy of this Notice

 4   of Removal shall be promptly served on plaintiffs’ counsel of

 5   record and will be filed with the Clerk of the San Diego County

 6   Superior Court of the State of California, North County Division.

 7

 8   DATED: November 30, 2016          G&P|SCHICK
 9

10                                     By:   s/ Malcolm D. Schick
                                           Malcolm D. Schick, Esq.
11                                         Gregory A. Feldman, Esq.
                                           Attorneys for Defendant,
12                                         MILGARD MANUFACTURING
                                           INCORPORATED dba MILGARD
13                                         WINDOWS AND DOORS

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       NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
